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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                                                )     Case No. 1:13CR00010-032
                                                )
v.                                              )     OPINION AND ORDER
                                                )
TEDDY RAY HAMMONDS,                             )     By: James P. Jones
                                                )     United States District Judge
                 Defendant.                     )

      Randy Ramseyer, Assistant United States Attorney, and Ajay J. Alexander,
Special Assistant United States Attorney, Abingdon, Virginia, for United States;
William L. Ricker, Greenville, Tennessee, for Defendant.

       The defendant has pleaded guilty to conspiring to utter, with the intent to

defraud, false financial instruments represented to be actual financial instruments

issued under the authority of an organization which operates in or the activities of

which affect interstate commerce, in violation of 18 U.S.C.A. § 514(a)(2) (West

2000) and 18 U.S.C.A. § 371 (West 2000). In connection with his sentencing, the

question before the court is the amount of restitution to be imposed.

       The conspiracy is alleged by the government to include at least 72 persons,

all of whom are named defendants in this case. The majority of the defendants

have entered into plea agreements with the government.            The facts of the

conspiracy are straight forward. In November and December of 2012, hundreds of

false checks were cashed, or attempted to be cashed, at Wal-Mart stores in this
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judicial district and the adjoining state of Tennessee.        These checks were

counterfeit Comdata Comcheks. Comcheks are a product of Comdata Network,

Inc., a Tennessee company, and are used primarily by trucking companies to assist

their truck drivers in accessing needed funds while traveling.        As has been

described, the normal and legitimate procedures for the use of these checks are that

      Comdata issues a “security password” to a subscribing trucking
      company. When a company needs to transfer money to a driver, it
      contacts Comdata, identifies itself using the password, and authorizes
      the particular transfer of funds. Comdata then issues an “electronic
      express code” and authorization to transfer the money. The company
      tells the driver the code and amount of money authorized. The driver
      picks up Comcheks at participating businesses (usually truck stops);
      fills in the code, amount, and payee (usually the driver); activates the
      Comchek by contacting Comdata and providing the serial number of
      the Comchek, the code number, and the amount; and then cashes the
      Comchek, which is treated like a personal check. The merchant
      cashing the check must first call Comdata to obtain authorization, to
      confirm that the check has been activated, before cashing the check.

United States v. Tanksley, No. 93-6346, 1994 WL 502659, at *1 (6th Cir. Sept. 14,

1994) (unpublished); see also United States v. Stafford, 136 F.3d 1109, 1111 (7th

Cir. 1998) (explaining Comchek system).

      As a result of accepting the false checks uttered by members of this

conspiracy, Wal-Mart has suffered a monetary loss of $90,158.42. Most of the

defendants participated by cashing only a few of the checks accepted by Wal-Mart.

Defendant Hammons, for example, cashed only four checks on a single occasion,

for a total loss of $921.65. Like most of the other defendants, he turned the money


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over to one of the leaders of the conspiracy, and received in turn only a small

payment from the proceeds.

       The court is required to impose restitution in this case, pursuant to the

Mandatory Victims Restitution Act (“MVRA”), see 18 U.S.C.A. § 3663A(a)(1)

(West 2000). Because the offense of conviction is a conspiracy, each member is

responsible for paying back all losses, “‘not only those resulting from the

defendant’s individual actions but also others caused by the conspiracy itself.’”

United States v. Newsome, 322 F.3d 328, 341 (4th Cir. 2003) (quoting United

States v. Laney, 189 F.3d 954, 965 (9th Cir. 1999)); see United States v. Plumley,

993 F.2d 1140, 1142 n.2 (4th Cir. 1993) (“[A] criminal defendant who participates

in a conspiracy is liable in restitution for all losses flowing from that conspiracy.”).

       Even if it were required to be shown that the losses suffered from the

counterfeit checks cashed on other occasions by the defendant’s coconspirators

were reasonably foreseeable to the defendant, I find adequate proof of that fact in

this case.1 The nature of the scheme itself supports the proposition that each

defendant would reasonably believe that there were numerous other participants

       1
           “Foreseeability” may be relevant in determining the appropriate offense level
under the Sentencing Guidelines, see U.S. Sentencing Guideline Manual §
1B1.3(a)(1)(B) (2012) (defining relevant conduct in jointly undertaken criminal activity
as “all reasonably foreseeable acts and omissions of others”), and thus may be different
for each coconspirator. But the determination of loss for guideline purposes and for
restitution purposes present different questions. See Newsome, 322 F.3d at 338, 340-42
(upholding restitution order in amount of victim’s full loss, even though loss for guideline
purposes was less because of defendant’s limited temporal involvement in conspiracy).
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cashing similar false checks. Many of the checks were cashed by groups of

defendants arriving at a particular Wal-Mart store at the same time, as shown by

the store’s surveillance cameras.        Many of the defendants gave statements to

authorities in which they reported that they had been enlisted into the conspiracy

by others. The scheme lasted over only a relatively brief period of time, so that

there is no likelihood that some of the defendants had time or occasion to actively

withdraw from the conspiracy. The execution of the fraud was simple, showing its

ability to be easily repeated by others. Finally, the total amount of loss to Wal-

Mart is not so large that any of the conspirators would not understand that it was a

probable result of their joint scheme.

       Nevertheless, any harsh result caused by applying the total loss to each

conspirator may be mitigated in two ways under the MVRA. First, the manner of

payment must be based upon the individual defendant’s ability to pay, and

secondly, the court in its discretion may apportion the total loss among

coconspirators to reflect their level of contribution to the loss and their economic

circumstances. See 18 U.S.C.A. § 3664(f), (h) (West 2000); Newsome, 322 F.3d at

341.

       In defendant Hammond’s case, I find it appropriate in my discretion to limit

his restitution obligation to the face amount of the checks that he himself cashed

and to require him to pay that amount in installments, without interest, as a


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condition of his supervision. Hammond was not a leader of the scheme and

profited very little from his crime. He has little assets and little expectation of

income above his minimum needs.

      It is so ORDERED.

                                              ENTER: June 5, 2013

                                              /s/ James P. Jones
                                              United States District Judge




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